             IN THE UNITED STATES DISTRICT COURT FOR THE
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                              CHARLESTON


UNITED STATES OF AMERICA

v.                                            CRIMINAL NO. 2:20-cr-00054

NEDELTCHO VLADIMIROV



     SIXTH SUPPLEMENTAL RESPONSE OF THE UNITED STATES OF AMERICA
           TO DEFENDANT'S STANDARD DISCOVERY REQUESTS, AND
        REQUEST OF THE UNITED STATES FOR RECIPROCAL DISCOVERY

       Pursuant   to   Rule   16   of   the    Federal   Rules   of   Criminal

Procedure, Rule 16.1(a) of the Local Rules of Criminal Procedure,

and the Arraignment Order and Standard Discovery Request entered

by the Court in this case on March 16, 2020, and March 4, 2021,

the United States of America, by counsel, herewith responds to

each of defendant's Standard Discovery Requests as follows:

       Third Supplemental Response:

       In this case, the United States provides expansive discovery,

which has been made available to defense counsel by disc on March

4, 2021, April 30, 2021, May 27, 2021, and by email on March 16,

2021. The United States hereby incorporates by reference its prior

discovery responses on March 30, 2020 (ECF 34), May 20, 2020 (ECF

38), August 24, 2020 (ECF 48), March 18, 2021 (ECF 70), April 30,

2021 (ECF 75), May 27, 2021 (ECF 76) and further supplements its

responses as follows:
     Request E: Permit the defendant to inspect and to copy or
photograph books, papers, documents, data, photographs, tangible
objects, building or places, or copies or portions of any of those
items, if the item is within the government's possession, custody
or control, and (i) the item is material to preparing the defense;
(ii) the government intends to use the item in its case-in-chief
at trial; or (iii) the item was obtained from or belongs to
defendant. [Fed. R. Crim. P. 16(a)(1)(E)]
Response:    The United States has disclosed the following items:

  1. Draft summary charts;

  2. Photos of various relevant locations in Cross Lanes and South

     Charleston;

  3. Draft demonstrative exhibits;

  4. Draft   transcripts   of   recordings   previously   produced   in

     discovery;

  5. Curriculum vitae of Jeremy M. Thompson.

     Request G: Give to the defendant a written summary of any
testimony the government intends to use under Rules 702, 703 or
705 of the Federal Rules of Evidence during its case-in-chief at
trial. If the government requests discovery under Federal Rules of
Criminal Procedure 16(b)(1)(C)(ii) and the defendant complies, the
government must, at the defendant's request, give to the defendant
a written summary of testimony that the government intends to use
under Rules 702, 703, or 705 of the Federal Rules of Evidence as
evidence at trial on the issue of the defendant's mental condition.
The summary must describe the witness's opinions, the bases and
reasons for those opinions, and the witness's qualifications.
[Fed. R. Crim. P. 16(a)(1)(G)]
     Response:    The United States intends to call law enforcement

officer Jeremy M. Thompson at the trial of this matter. The witness

is expected to base his testimony on his training, experience, and

the evidence previously disclosed in this case. The witness will

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testify generally about his experience with electronic device

analysis.   The   witness   will    testify     as   to   the   collection   and

analysis of data contained on the electronic devices seized from

defendant in this case, including the computer software used in

this process and his post-analysis summary of the data. The United

States takes the position that the evidence is lay testimony under

Rule 701, rather than expert testimony, because it is based on his

personal observations and experience as a law enforcement officer.

Nevertheless, notice is given to defendant as a precautionary

measure. Jeremy Thompson’s curriculum vitae is provided herein and

will produce analysis reports.

     Request H: Disclose to defendant all evidence favorable to
defendant, including impeachment evidence, and allow defendant to
inspect, copy or photograph such evidence.
     Response:    The United States is unaware of any such evidence

other than that which may otherwise be included herein and in its

supplemental responses. As a precautionary measure, the United

States discloses that Nicholas Trent Martin stated to the United

States,   on   June   23,   2021,   that   he    sold     items   to   defendant

approximately two times per week from late 2017 until October of

2018. Martin previously testified that he sold items to defendant

“around ten times.”




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      REQUEST OF THE UNITED STATES FOR RECIPROCAL DISCOVERY

     Pursuant to Rules 16.1(b) and 16.1(d) of the Local Rules of

Criminal Procedure, the United States of America requests that

defendant provide all applicable reciprocal discovery within 14

days of the service of this response and the provision of materials

requested by defendant in the Standard Discovery Request.


                              Respectfully submitted,

                              UNITED STATES OF AMERICA

                              LISA G. JOHNSTON
                              Acting United States Attorney

                              s/Andrew J. Tessman
                              ANDREW J. TESSMAN
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                      CERTIFICATE OF SERVICE

     It is hereby certified that the foregoing “SIXTH SUPPLENTAL

RESPONSE OF THE UNITED STATES OF AMERICA TO DEFENDANT'S STANDARD

DISCOVERY REQUESTS, AND REQUEST OF THE UNITED STATES FOR RECIPROCAL

DISCOVERY,” has been electronically filed and service has been

made on opposing counsel by virtue of such electronic filing this

25th day of June, 2021 to:

     Timothy J. LaFon
     CICCARELLO DELGIUDICE & LAFON
     Suite 100
     1219 Virginia Street East
     Charleston, WV 25301-2912



                                     By:   s/ Andrew J. Tessman




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